Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 1 of 10 Page ID #:1




 1   Stephen McArthur (State Bar No. 277712)
     stephen@smcarthurlaw.com
 2   Thomas Dietrich (State Bar No. 254282)
     tom@smcarthurlaw.com
 3   THE MCARTHUR LAW FIRM, P.C.
     9465 Wilshire Blvd., Ste. 300
 4   Beverly Hills, CA 90212
     Telephone: (323) 639-4455
 5
     Attorneys for Plaintiff
 6   VLADAMUA, LLC
 7

 8

 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11

12    VLADAMUA, LLC, a California                       Case No. 2:21-cv-8367
      Limited Liability Company,
13                                                      COMPLAINT FOR
                         Plaintiff,                     COPYRIGHT INFRINGEMENT
14
             v.
15                                                      DEMAND FOR JURY TRIAL
      FASHION NOVA, LLC
16
                         Defendant.
17

18

19

20           Plaintiff Vladamua, LLC (“Vladamua” or “Plaintiff”) by and through its
21   undersigned counsel, states as follows for its complaint against Fashion Nova, LLC
22   (“Fashion Nova” or “Defendant”) and alleges as follows:
23                                       INTRODUCTION
24      1.        This action arises out of Defendants’ intentional and willful decision to
25   infringe Ms. Haggerty’s copyrighted “Black Rose” photograph.
26      2.        Plaintiff Vladamua, LLC is a California-based Limited Liability
27   Company that specializes in providing high-quality makeup application services,
28
                                                                                      COMPLAINT
                                                  -1-                                    Case No.
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 2 of 10 Page ID #:2




 1   photography services, and creating unique works of makeup art. Vladamua’s
 2   founder, Vlada Haggerty, is a Los Angeles-based makeup artist and photographer
 3   whose works of makeup art have been featured in fashion publications and art
 4   galleries all over all the world. Ms. Haggerty is especially well-known for her
 5   works of lip art, which feature close-up photographs of lips decorated with unique
 6   makeup designs.
 7      3.    One of Plaintiff’s most popular works is its Black Rose Lip Art
 8   photograph, published in April 2018. “Black Rose” is protected by federal
 9   copyright Registration #: VA2-211-636, pictured below.
10

11

12

13

14

15

16

17      4.    Without compensating Plaintiff, or obtaining a license, Defendants
18   illegally and intentionally misappropriated the Black Rose Lip Art by
19   incorporating the copyrighted image into their clothing (the “Infringing Apparel”).
20   This flagrant violation of Plaintiff’s copyrighted work of lip art is shown below.
21

22

23

24

25

26

27

28
                                                                                 COMPLAINT
                                                                                    Case No.
                                               -2-
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 3 of 10 Page ID #:3




 1      5.       Accordingly, due to Defendants’ blatant and willful infringement,
 2   Plaintiff has no choice but to file this lawsuit seeking damages that it has suffered
 3   as a result of Defendants’ copyright infringement.
 4                                         The Parties
 5      6.       Plaintiff Vladamua, LLC is a California-based Limited Liability
 6   Company with a business address located in this District.
 7      7.       Defendant Fashion Nova, LLC is a limited liability company duly
 8   organized and existing under the laws of California, with its principal place of
 9   business at 2801 E 46th St Vernon, Los Angeles, CA 90058.
10                                  Jurisdiction and Venue
11      8.       This is a civil action alleging copyright infringement under the Copyright
12   Act, 17 U.S.C. § 501. This Court has exclusive subject matter jurisdiction over
13   these claims pursuant to 28 U.S.C. §§ 1331 and 1338.
14      9.       This Court has personal jurisdiction over Defendant. Defendant has
15   substantial business operations in California and is subject to personal jurisdiction
16   in this state with its business address located in Los Angeles. Further, Defendant
17   engaged in infringing conduct within California and purposefully directed its
18   activities through websites and social media pages in California, where Defendant
19   sells merchandise.
20      10.      Venue is proper in this District under 28 U.S.C. §§ 1391(b) and (c)
21   because a substantial part of the events giving rise to the claims occurred in this
22   District, and Defendant is subject to personal jurisdiction and located in this
23   District.
24                               Facts Common to All Claims
25                            Vladamua’s Copyright Registration
26      11.      Plaintiff Vladamua provides high-quality makeup application services,
27   and unique works of makeup art. Plaintiff was founded by Vlada Haggerty, a Los
28   Angeles-based makeup artist and photographer who has gained worldwide acclaim
                                                                                   COMPLAINT
                                                                                      Case No.
                                                 -3-
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 4 of 10 Page ID #:4




 1   for her lip art and photography.
 2        12.   Plaintiff’s works of makeup art are displayed on its website, located at
 3   https://www.vladamua.com/, as well as on Instagram at
 4   https://www.instagram.com/vladamua/, where Plaintiff has almost 700,000
 5   devoted followers. Plaintiff’s work has also been featured by such clients as
 6   Disney Style, Pat McGrath Labs, Cover Girl, Smashbox Cosmetics, NYX
 7   Cosmetics, Cosmopolitan, Elle, Vogue, Tarte Cosmetics, Black Moon Cosmetics,
 8   Jeffree Starr Cosmetics, and Tattoo Junkie Cosmetics.
 9        13.   In April of 2018, Ms. Haggerty created the Black Rose lip art (the
10   “Copyrighted Work”) and published it on her Instagram account.
11        14.   Black Rose was awarded the Copyright, U.S. Copyright Registration No.
12   VA2-211-636 (the “Copyright”) with an effective date of June 24, 2020.
13        15.   Vladamua is the sole and exclusive owner of all right, title, and interest in
14   and to the Copyright and the Copyrighted Work. The Copyrighted Work is an
15   original work of authorship, embodying copyrightable subject matter, and is
16   subject to the full protection of the U.S. copyright laws.
17                           Fashion Nova’s Intentional Copying
18        16.   Without permission or authorization from Vladamua, Fashion Nova
19   copied, distributed, prepared derivate works based on, and displayed, Black Rose
20   as a part of the Infringing Apparel. A screenshot of Vladamua’s Copyrighted
21   Work is below (left) with a photograph of Fashion Nova’s Infringing Apparel
22   (right).
23   //
24   //
25   //
26   //
27   //
28
                                                                                    COMPLAINT
                                                                                       Case No.
                                                 -4-
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 5 of 10 Page ID #:5




 1

 2

 3

 4

 5

 6

 7

 8

 9

10      17.   Fashion Nova’s Infringing Apparel merely uses a black and white
11   version of Vladamua’s original “Black Rose” that is so strikingly similar that
12   independent creation is beyond belief.
13      18.   Fashion Nova had access to Vladamua’s Copyrighted Work from seeing
14   it frequently posted to Vladamua’s social media, where it has almost 700,000
15   followers. The photograph itself has 28,310 “likes”, and can be found here:
16   https://www.instagram.com/p/BhKBxsshqQb/?utm_medium=copy_link.
17

18

19

20

21

22

23

24

25

26

27

28      19.   In addition to infringing the Copyrighted Work by putting it on a t-shirt,
                                                                                 COMPLAINT
                                                                                    Case No.
                                               -5-
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 6 of 10 Page ID #:6




 1   Fashion Nova infringed it the Copyrighted Work a second time by using the work
 2   in various digital online advertisements. See one example below.
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18      20.   Despite knowledge of the substantial time, skill, and money Vladamua
19   invested in creation of her designs, Defendants stole Vladamua’s work without her
20   consent, removed her “VLADAMUA” watermarked logo, and used the Copyrighted
21   Photograph to advertise their own products and website.
22                                         Count 1
23              Infringement of Registered Copyright (Physical Product)
24      21.   Vladamua incorporates each paragraph above into this claim.
25      22.   This claim is against Fashion Nova for infringement of Vladamua’s
26   registered copyright in the Black Rose lipart in violation of the Copyright Act, 17
27   U.S.C. § 101 et seq.
28      23.   Vladamua is the owner of a valid and registered copyright in the design,
                                                                                 COMPLAINT
                                                                                    Case No.
                                               -6-
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 7 of 10 Page ID #:7




 1   Copyright Reg. No. VA2-211-636.
 2      24.    Vladamua’s Copyrighted Work contains a substantial amount of original
 3   material which constitutes copyrightable subject matter protected under the
 4   Copyright Act.
 5      25.    Vladamua did not authorize Fashion Nova to reproduce the Copyrighted
 6   Work or to display a reproduction of that work in the Infringing Apparel or
 7   anywhere.
 8      26.    Fashion Nova infringed Vladamua’s Copyright by reproducing,
 9   distributing, and publicly displaying copies of the Black Rose lip art without
10   authorization, in violation of Vladamua’s exclusive rights under the Copyright Act,
11   17 U.S.C. § 106.
12      27.    Fashion Nova knew it was blatantly copying Vladamua’s original
13   artwork, and its infringement is willful.
14      28.    Fashion Nova’s copyright infringement has damaged Vladamua in an
15   amount to be proven at trial.
16      29.    Vladamua is entitled to full costs and attorneys’ fees pursuant to 17
17   U.S.C. § 505.
18      30.    Vladamua is further entitled to a permanent injunction under 17 U.S.C. §
19   502 preventing Fashion Nova from further violations.
20                                           Count 2
21            Infringement of Registered Copyright (Digital Advertisements)
22      31.    Vladamua incorporates each paragraph above into this claim.
23      32.    This claim is against Fashion Nova for infringement of Vladamua’s
24   registered copyright in the Black Rose lipart in violation of the Copyright Act, 17
25   U.S.C. § 101 et seq.
26      33.    Vladamua is the owner of a valid and registered copyright in the design,
27   Copyright Reg. No. VA2-211-636.
28      34.    Vladamua’s Copyrighted Work contains a substantial amount of original
                                                                                 COMPLAINT
                                                                                    Case No.
                                                 -7-
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 8 of 10 Page ID #:8




 1   material which constitutes copyrightable subject matter protected under the
 2   Copyright Act.
 3      35.    Vladamua did not authorize Fashion Nova to reproduce the Copyrighted
 4   Work or to display a reproduction of that work in advertisements.
 5      36.    Fashion Nova infringed Vladamua’s Copyright in violation of
 6   Vladamua’s exclusive rights under the Copyright Act, 17 U.S.C. § 106 by
 7   reproducing, distributing, and publicly displaying digital copies of the Black Rose
 8   lip art without authorization, on advertisements in Buzzfeed, Polygon, Hollywood
 9   Reporter, Radiotimes, and Insider. See Exhibit 1.
10      37.    Fashion Nova knew it was blatantly copying Vladamua’s original
11   artwork, and its infringement is willful.
12      38.    Fashion Nova’s copyright infringement has damaged Vladamua in an
13   amount to be proven at trial.
14      39.    Vladamua is entitled to full costs and attorneys’ fees pursuant to 17
15   U.S.C. § 505.
16      40.    Vladamua is further entitled to a temporary and permanent injunction
17   under 17 U.S.C. § 502 preventing Fashion Nova from further violations.
18                                              Count 3
19        (Removal and/or Alteration of Copyright Management Information)
20      41.    Plaintiff repeats and re-alleges each and every allegation in the foregoing
21   paragraphs as if fully set forth herein.
22      42.    Section 1202(b) of the DMCA prohibits removal or alteration of
23   copyright management information (“CMI”). CMI includes “[t]he name of, and
24   other identifying information about, the author of a work,” as well as “links to such
25   information.” 17 U.S.C. § 1202(c).
26      43.    Plaintiff’s Instagram post featured CMI, namely, the “VLADAMUA”
27   watermark that constitutes identifying information regarding the author of the
28   photograph.
                                                                                 COMPLAINT
                                                                                    Case No.
                                                  -8-
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 9 of 10 Page ID #:9




 1      44.     In copying and publishing the Copyrighted Photograph on their own t-
 2   shirts and online advertisements, Defendants omitted the watermark. In doing so,
 3   Defendants removed and altered CMI associated with the Copyrighted Photograph,
 4   which constitutes a violation of the DMCA.
 5      45.     Pursuant to the DMCA, Plaintiffs are entitled to an award of the greater
 6   of (1) their actual damages and disgorgement of Defendant’s profits, or (2)
 7   statutory damages for each instance of CMI removal and alteration, as well as costs
 8   and attorneys’ fees.
 9                                     Prayer for Relief
10            WHEREFORE, Vladamua prays that this Court enter judgment in its favor
11   on each and every claim for relief set forth above and award Vladamua relief
12   including but not limited to an Order:
13      a)      Awarding Vladamua monetary relief, including damages sustained by
14   Vladamua in an amount not yet determined, consisting of actual damages and
15   Defendant’ profits attributable to copyright infringement under 17 U.S.C. § 504
16   and 17 U.S. Code 1203(c)(2).
17      b)      Granting a permanent injunction preventing Defendant and anyone
18   working in concert with them from copying, displaying, distributing, selling, or
19   offering to sell the infringing photographs pursuant to 17 U.S.C. § 502 and 17 U.S.
20   Code § 1203(b)(1).
21      c)      Awarding Vladamua all of its costs, interest, and reasonable attorneys’
22   fees in this action as authorized by 17 U.S.C. § 505.
23      d)      Awarding Vladamua the maximum statutory damages allowed by law
24   including those enumerated in 17 U.S. Code § 1203(c)(3)(B) of $25,000 for each
25   violation, and 17 U.S.C. § 504.
26      e)      That because of the willful, intentional, and wrongful nature of
27   Defendant’s acts, the Court award to Plaintiff exemplary or punitive damages.
28      f)      Awarding such other and further relief as this Court may deem just and
                                                                                   COMPLAINT
                                                                                      Case No.
                                                -9-
Case 2:21-cv-08367-SB-SK Document 1 Filed 10/21/21 Page 10 of 10 Page ID #:10




 1   appropriate under the circumstances.
 2

 3

 4                                   JURY DEMAND
 5     Pursuant to Federal Rule of Civil Procedure 38 and Central District of California
 6   L.R. 38-1, Vladamua demands a trial by jury on all issues so triable.
 7
      DATED: October 21, 2021           THE MCARTHUR LAW FIRM, PC
 8

 9
                                        By: /s/ Stephen C. McArthur
10                                          STEPHEN C. MCARTHUR
11                                          Stephen McArthur
                                            stephen@smcarthurlaw.com
12                                          Thomas Dietrich
                                            tom@smcarthurlaw.com
13                                          9465 Wilshire Blvd., Ste. 300
                                            Beverly Hills, CA 90212
14                                          Telephone: (323) 639-4455
15                                        Attorneys for Plaintiff Vladamua, LLC.
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                               COMPLAINT
                                                                                  Case No.
                                              - 10 -
